Case 1:22-cv-08969-PAE   Document 63-5   Filed 11/14/23   Page 1 of 5




                 EXHIBIT E
Case 1:22-cv-08969-PAE   Document 63-5   Filed 11/14/23   Page 2 of 5




                                                                        DCC_000031
Case 1:22-cv-08969-PAE   Document 63-5   Filed 11/14/23   Page 3 of 5




                                                                        DCC_000032
Case 1:22-cv-08969-PAE   Document 63-5   Filed 11/14/23   Page 4 of 5




                                                                        DCC_000033
Case 1:22-cv-08969-PAE   Document 63-5   Filed 11/14/23   Page 5 of 5




                                                                        DCC_000034
